
217 Cal.App.2d 771 (1963)
CONTINENTAL CASUALTY COMPANY, Plaintiff and Appellant,
v.
RIZZIO TRUCK COMPANY, Defendant and Respondent.
Civ. No. 26317. 
California Court of Appeals. Second Dist., Div. Three.  
June 28, 1963.
 Weingand, Tipton, Kendig &amp; Stockwell and Eugene L. Stockwell, Jr., for Plaintiff and Appellant.
 Hecker, Dunford &amp; Kenealy and Mark R. McKee for Defendant and Respondent.
 FILES, J.
 Plaintiff's notice of appeal states that plaintiff appeals "from the judgment of the above captioned court sustaining defendants' demurrer to plaintiff's complaint on the 7th day of December, 1961."
 The record on appeal contains a minute order dated December 7, 1961, whereby the demurrer of one defendant was sustained with leave to amend within 10 days. There is no judgment. [1] The order sustaining the demurrer is not appealable, and this court has no choice but to dismiss the appeal. (Curnutt v. Holk, 203 Cal.App.2d 6 [21 Cal.Rptr. 224].)
 The appeal is dismissed.
 Shinn, P. J., and Ford, J., concurred.
